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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 11-61316-CIV-ZLOCH

 ACCESS FOR THE DISABLED, INC.,
 ROBERT COHEN and PATRICIA
 KENNEDY,

             Plaintiffs,

 vs.                                            FINAL ORDER OF DISMISSAL

 SUPER MUNCHIES, INC., a
 Florida corporation,

             Defendant.
                                    /

       THIS MATTER is before the Court upon the Notice Of Voluntary

 Dismissal With Prejudice (DE 6) filed herein by Plaintiffs, Access

 for the Disabled, Inc., Robert Cohen and Patricia Kennedy.               The

 Court has carefully reviewed said Notice and the entire court file

 and is otherwise fully advised in the premises.

       Accordingly, after due consideration, it is

       ORDERED AND ADJUDGED as follows:

       1.    The Notice Of Voluntary Dismissal With Prejudice (DE 6)

 filed herein by Plaintiffs, Access for the Disabled, Inc., Robert

 Cohen and Patricia Kennedy, be and the same is hereby approved,

 adopted and ratified by the Court;

       2.    The   above-styled    cause   be   and   the   same   is   hereby

 DISMISSED with prejudice, each party to bear their own attorney’s

 fees and costs; and
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       3.    To the extent not otherwise disposed of herein, all

 pending Motions are hereby DENIED as moot.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

 County, Florida, this        11th         day of July, 2011.




                                     WILLIAM J. ZLOCH
                                     United States District Judge

 Copy furnished:
 Bradley H. Trushin, Esq.




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